                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                              September 17, 2015
                              No. 10-15-00304-CR
                             RONALD EUGENE DARWIN
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                                       
                        From the 21[st] District Court
                            Burleson County, Texas
                            Trial Court No. 14,101
                                       
--------------------------------------------------------------------------------
JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the appeal, it is the judgment of this Court that the appeal is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

